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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

                                            §
THE DAILY WIRE, LLC, et al.,                §
                                            §
         Plaintiffs,                        §
                                            §
v.                                          §     Case No. 6:23-cv-609-JDK
                                            §
UNITED STATES DEPARTMENT OF                 §
STATE, et al.,                              §
                                            §
         Defendants.                        §
                                            §

                         ORDER FOR PROPOSED SCHEDULE
          The Court ORDERS the parties to meet and confer as required by Federal

 Rule of Civil Procedure 26(f) by May 24, 2024, and to submit a proposed schedule for

 the disposition of this case, in accordance with Federal Rule of Civil Procedure 16(b),

 by May 31, 2024. The parties may propose a schedule including only the dates and

 deadlines that they believe will most efficiently resolve the disputes in this case.

          So ORDERED and SIGNED this 7th day of May, 2024.



                                            ___________________________________
                                            JEREMY D. KERNODLE
                                            UNITED STATES DISTRICT JUDGE
